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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

                                   )
TARIFF SHARIF BEY                  )
A/K/A AARON LAMON JOHNSON,         )
Plaintiff,                         )
                                            Civil Action No.
                                   )
                                            21-11505-NMG
             v.                    )
                                   )
THE COMMONWEALTH OF                )
MASSACHUSETTS,                     )
Defendant.                         )

                          PROCEDURAL ORDER

GORTON, J.

     On September 14, 2021, Tariff Sharif Bey (“Bey”), a

pretrial detainee in custody at the Middleton House of

Correction, initiated this action by filing a pro se “Affidavit

of Fact and Writ of Error.”    Docket No. 1.     Bey did not pay the

filing fee nor seek a waiver of prepayment of the filing fee.

See Docket.

     On October 18, 2021, in response to the Court’s October 12,

2021 Procedural Order, see Docket No. 3, Bey filed an

application for leave to proceed in forma pauperis.        Docket No.

4.

     By Electronic Order dated October 27, 2021, the Court

deferred action on Bey’s application for leave to proceed in

forma pauperis and extended to November 19, 2021, the deadline

for filing a copy of his prison account statement.        Docket No.

6.
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      The same day, on October 27, 2021, the Court received for

filing an “Affidavit of Fact” from Aban El Curragh (“El

Currah”).    See Docket No. 7.    In his affidavit, El Curragh

requests “more time to obtain” a copy of his prisoner account

statement and also asks the court to contact the treasurer to

assist in obtaining a copy of the prison account statement.

       El Curragh is not a party to this action.        Because El

Curragh’s affidavit contains the case number 21-11505-NMG, the

Clerk entered the affidavit on the docket for the instant

action.     This court’s records indicate that El Curragh is a

party to the following three actions:       Commonwealth v El

Curragh, No. 21-11506-PBS (pending); Moorish Militia, et al. v

The Commonwealth of Massachusetts, et al., No. 21-11620-AK

(pending); and El Curragh et al. v. The Commonwealth of

Massachusetts, et al., No. 21-11668-DLC (pending).

          It is unclear from El Curragh’s affidavit whether he

seeks to file the affidavit on behalf of Bey, which he cannot

do.   See Local Rule 83.5.5(b) of the Local Rules of the U.S.

Dist. Ct. for the Dist. of Mass. (“An individual appearing pro

se may not represent any other party and may not authorize any

other individual who is not a member of the bar of this district

to appear on his or her behalf.”).      To the extent El Curragh

seeks to file the instant affidavit in one of his pending cases,



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it is not clear which case, if any, he intends to file his

affidavit.

     Accordingly, no action will be taken on the affidavit, see

Docket No. 7, and Bey is reminded that the deadline for filing a

copy of his prison account statement has been extended to

November 19, 2021.   The Clerk shall mail copies of this

Procedural Order to El Curragh and Bey at the Middleton House of

Correction.


So ordered.

                                /s/ Nathaniel M. Gorton
                               Nathaniel M. Gorton
                               United States District Judge

Dated: November 3, 2021




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